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         Exhibit 30
3/22/24, 12:09 PM   Case 1:21-cv-02131-CJN-MAU Document   82-9 Filed
                                                   nimbus screenshot       03/22/24 Page 2 of 2
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                                                                                                                                                    22.03.2024


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                          As a constitutional officer, my dutie are defined by my oath
                    of offioe; the Constitution, ·:he statutes governing my office, and
                    those powers at common faw that were recognized a being
                    attached to my position. In light of this evidence, I am suggesting
                    that every election official con.sider an emergency back-up plan
                    for upcoming elections to prepare to verify aU ballots and voters,
                    and to hand count actual pap r ballots at the end of elections to
                    confirm the accuracy of the vote, the voters, and tha:t our election
                    machiines are working properly. There is no harm in confirming
                    results to e:nsur,e that the win of the people is reflected.
                          Thank you. in advance. for your pmmpt attention to this
                    matter. Please do not hesitate to contact me if you have any
                    questions or would like additional informafon concerning my
                    investigation. As ·t stands, I have no faith in the federal
                    institutions that alJowed this garbage in the first place th refore, I
                    run attaching unr,edacted documents for your review. More
                    importantly, for review by the American people. Thi should
                    al1ow for Congress to issue subpoenas in a:n expedited fashion . I
                    look forward to Congress working for th _ American p _opl _, and
                    quickly addressing these election secwity problems while I
                    pursue the crintlnal inve tigation with sheriffs aero s the c-0untry.
                                                         Sincerely,
                                                         ls/Dar Leaf

                                                         Barry County Sheriff Dar Leaf




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